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                                                       Our File No.: 111436

                                                                                    UNITED STATES DISTRICT COURT
                                                                                    EASTERN DISTRICT OF NEW YORK



                                                       SEAN CONETY,                                                Docket No: 2:16-cv-05548-ADS-SIL

                                                                               Plaintiff,

                                                                                  vs.
                                                                                                                   NOTICE OF SETTLEMENT
                    100 GARDEN CITY PLAZA, SUITE 500
     PLLC


                     GARDEN CITY, NEW YORK 11530




                                                       MONARCH RECOVERY MANAGEMENT,
BARSHAY | SANDERS




                                                       INC.,

                                                                              Defendant.


                                                       Now comes the Plaintiff SEAN CONETY by and through counsel, to provide notice to the Court

                                                       that the present cause has been settled between the parties, and state:

                                                           1. A settlement agreement (“Agreement”) is in the process of being finalized. Once the

                                                               Agreement is fully executed, and Plaintiffs have received the consideration required pursuant

                                                               to the Agreement, the parties will submit a Stipulation of Voluntary Dismissal with prejudice

                                                               pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and will therein request that the

                                                               case be dismissed and closed.

                                                           2. The parties respectfully request that the Court stays this case and adjourns all deadlines and

                                                               conferences.




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                                                          3. We respectfully request the Court provide that the parties may seek to reopen the matter

                                                             for forty-five (45) days to assure that the Agreement is executed and that the settlement

                                                             funds have cleared.

                                                       DATED: May 15, 2018

                                                                                                   BARSHAY SANDERS, PLLC

                                                                                                   By: /s David M. Barshay
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